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                                  City of Miami
                                                                                                                 ARTHUR NORIEGA, V
                                                                                                                    City Manager



      May 12, 2021



      Matt Malone
      Destileria Caneca, LLC
      1380 SW 8 Street
      Miami, FL 33135

      Re: Alcohol Reservation Letter for a DD(CD) Manufacturer of Spirits / Craft
      Distillery Alcohol License located at 1380 SW 8 Street, Suite 3 within the 8th Street
      Specialty District.

      Dear Mr. Malone:

      The Office of Zoning has received your request for an Alcohol Reservation Letter
      (“Reservation”) dated December 11, 2020, for the property located at 1380 SW 8 Street,
      Suite 3, Miami, FL 33135 for a DD(CD) Manufacturer of Spirits / Craft Distillery
      Alcohol License within the 8th Street Specialty District.

      After a careful review of the liquor survey by the Office of Zoning, your proposed
      location does not meet the distance separation requirements in Section 4-5 of the Miami
      Code of Ordinances due to being located within 500’ feet from a School, at
      approximately 405’ feet and within 300’ of a Religious Facility, at approximately 295’
      feet.

      Please be advised that a reservation for your proposed Alcoholic Beverage Service
      Establishment cannot be issued at this time and your request is denied.

      If you have any questions,                   please      email     Mr.     Rafael      Rodriguez,           Jr.   at
      rafaelrodriguez@miamigov.com.
      Sincerely,



      Daniel S. Goldberg, Esq.
      Director // Zoning Administrator

      Cc: Zoning Pending Applications File
      PZ-21-10195


                                                   OFFICE OF ZONING
              444 S.W. 2nd Avenue, 2nd Floor / Miami, Florida 33130 / Phone: (305) 416-1499 Fax (305) 416-2156
                               Mailing Address: P.O. Box 330708 Miami, Florida 33233-0708
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          ARTICLE IX. - VALET PARKING



                  Footnotes:
                  --- (8) ---
                  Editor's note— Ord. No. 13568, § 1, adopted October 22, 2015, redesignated the former article VIII as article IX.       Ord.
                  No. 12588, § 1, adopted September 23, 2004, amended article VIII in its entirety to read as herein set out. Formerly,
                  article VIII pertained to similar subject matter and derived from Ord. No. 11483, § 2, adopted April 10, 1997; Ord. No.
                  11678, § 2, adopted June 23, 1998; Ord. No. 11812, § 2, adopted July 13, 1999.




          Sec. 35-301. - Purpose; permit and license required.

                  (a) The purpose of this article is to:

                        (1) Reduce the disruption of vehicular and pedestrian traffic that valet parking service
                                operations may create;

                        (2) Minimize hazardous conditions that valet parking service operations may create in order
                                to protect the health, safety and welfare of the public;

                        (3) Promote the safe and legal operation of valet parking services for the use and convenience
                                of businesses and the general public.

                  (b) No person, establishment or entity shall conduct valet parking service on public right-of-way as
                         herein defined without first obtaining a permit from the director of the department of off-
                         street parking and paying the fee therefor to the chief financial officer of DOSP or his/her
                         designee.

           (Ord. No. 12588, § 1, 9-23-04; Ord. No. 13676, § 2, 4-27-17)


          Sec. 35-302. - De�nitions.

               Department or DOSP means the city department of off-street parking also known as Miami Parking
           Authority ("MPA").

               Director means director of the city department of off-street parking.

               Officer means police, parking enforcement specialist, code enforcement officer.

               Permit means the receipt of a valet parking permit under the terms and provisions of this article.

               Permittee/operator means valet company and its employees.

               Tandem parking means the storage of vehicles, irrespective of how configured, that requires moving
           at least one other vehicle to reach the vehicle sought.

               Valet parking service area or ramping means the public right-of-way to be utilized for the valet parking



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           service. This excludes the use of the T3 transect zone right-of-way areas unless associated with an
           accompanying T3 transect zone special event permit as contemplated in section 35-303.

           (Ord. No. 12588, § 1, 9-23-04; Ord. No. 14138, § 11, 2-9-23; Ord. No. 14142, § 2, 2-9-23)


          Sec. 35-303. - Boundaries.

               Valet parking service shall only be permitted within transect zones T4-L and O, T5-L and O, T6-L and O,
           C, and D. Furthermore, a valet parking service shall only be permitted within all T3, T4-R, T5-R and T6-R
           transect zones by obtaining a special event temporary permit as referred to in section 35-315. Valet
           parking services shall not use the right-of-way in T3 transect zones for the parking of any vehicles from
           their stands located in other transect zones unless associated with a special event permit issued for a T3
           transect zone event.

           (Ord. No. 12588, § 1, 9-23-04; Ord. No. 14142, § 2, 2-9-23)


          Sec. 35-304. - Permit fee; exceptions.

               The biannual permit fee for establishing or maintaining a valet parking service shall be $500.00 from
           the effective date, paid to the department in the amount of $500.00 plus the following ramping fees:

               Ramping fee:

                      (1) If the operation of the valet parking service requires the rental of metered or non-metered
                           parking spaces or area, the permittee/operator shall also pay a ramping fee of the rate
                           established by DOSP per metered parking space or the rate for every 20 linear feet per day
                           to the department. All rates are stated in section 35-194 of the parking rate ordinance.

                      (b) The city manager, the director, or their designees, may waive said permit fee and ramping
                           fee for valet parking service exclusively serving a city-owned and operated facility.

           (Ord. No. 12588, § 1, 9-23-04)


          Sec. 35-305. - Permit application.

                  (a) Application for a permit to conduct a valet parking service shall be made at the department in
                       a form deemed appropriate by the director and city attorney. Such application shall include,
                       but not be limited to, the following information:

                      (1) Name and address of the proposed permittee/operator. If incorporated,
                           permittee/operator must provide copies of the articles of incorporation and bylaws;

                      (2) Copy of a valid certificate of use and local business tax receipt issued by the city;

                      (3) Copy of current liability insurance in accordance with the provisions of section 35-308 of



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            this code;

                         (4) Site plan (at an appropriate scale) showing the proposed tandem parking arrangement, if
                            any, the lay-out and dimensions of the existing public right-of-way and adjacent private
                            property, proposed location, size of proposed mobile stands, tables, chairs, umbrellas,
                            keybox, location of doorways, location of trees, parking meters, bus shelters, sidewalk
                            benches, trash receptacles, driveways, and any other sidewalk obstruction either existing
                            or proposed within the pedestrian areas. Under no circumstances shall permanent
                            structures or equipment be permitted. The site plan shall clearly identify the valet parking
                            service area, and shall also show the proposed location, number of parking stalls and
                            distance to the off-street parking facility providing the parking spaces for the valet parking
                            service;

                         (5) Photographs, drawings, or manufacturers' brochures fully describing the appearance of all
                            proposed mobile stands, tables, chairs, umbrellas, keybox or other objects related to the
                            valet parking service; and

                         (6) Copy of the agreement/contract for the provision of the off-street parking spaces that
                            includes identification of the location of vehicle storage spaces.

                  (b) Applications shall be accompanied by an annual nonrefundable application fee of $150.00.

                  (c) Applications shall be forwarded by the director to all city departments which may be affected
                         by the granting of the permit, including but not limited to, resilience and public works, building
                         planning and zoning, police, and risk management. The city departments shall review and
                         submit comments on the application(s) to the department within 45 calendar days.

                  (d) Within 50 calendar days of receipt of a completed application, the director shall issue a letter
                         of intent to approve or deny the permit. The director shall provide a copy of the permit
                         approval or denial to the finance department when the decision is made.

           (Ord. No. 12588, § 1, 9-23-04; Ord. No. 12885, § 1, 2-8-07; Ord. No. 13792, § 1, 10-11-18; Ord. No. 14138, §
           11, 2-9-23)


          Sec. 35-306. - Permit requirements, restrictions and when not permitted.

                  (a) Permits shall be issued only for pedestrian areas and public right-of-way under the
                         maintenance jurisdiction of the city.

                  (b) Valet parking service shall be operated only by commercially licensed and insured vendors of
                         parking services holding valid city local business tax receipts.

                  (c) Permits shall be issued only to permittees/operators that provide certification, in a format
                         approved by the director and city attorney, that they have procured sufficient accessible off-
                         street parking spaces for their valet parking services. On-street parking spaces shall not be



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            included in the computation of sufficient parking spaces for valet parking.

                  (d) A permit shall not be issued when another valet parking permit has already been issued for a
                       valet parking area immediately adjacent to the proposed permit area. Furthermore a permit
                       shall not be issued when the proposed permit area is on the same side of one city block of
                       another valet parking area, unless authorized by the resilience and public works director.

                  (e) Permits or a copy of a valid permit must be at valet ramping area at all times.

           (Ord. No. 12588, § 1, 9-23-04; Ord. No. 12885, § 1, 2-8-07; Ord. No. 13792, § 1, 10-11-18)


          Sec. 35-307. - Standards and criteria for application review.

               The following standards and criteria shall be used in reviewing the application required in section
           35-305:

                      (1) The location of the valet parking service area is restricted to existing designated on-street
                           parking spaces.

                      (2) The width of the valet parking service area shall comprise a minimum of three parking
                           spaces (approximately 60 linear feet).

                      (3) Mobile stands, tables, chairs, umbrellas, keyboxes and any other objects necessary for the
                           operation of the valet parking service shall be located on the sidewalk in such a manner
                           that a minimum six-foot wide clear pedestrian path is maintained at all times. In areas of
                           congested pedestrian activity, the director is authorized to require a wider pedestrian
                           path, as circumstances dictate. Under no circumstances shall permanent structures or
                           equipment be permitted, unless authorized by the resilience and public works director.

                      (4) Mobile stands, tables, chairs, umbrellas, keyboxes and any other objects necessary for the
                           operation of the valet parking service shall be of quality, design, materials, and technique,
                           both to ensure the safety and convenience of users, and to enhance the visual and
                           aesthetic quality of the urban environment. Design, materials, and colors shall be
                           sympathetic and harmonious with an urban environment. The city manager's office or its
                           designated city department and the director of the city planning and zoning department
                           shall be responsible for the review and approvals required by this subsection.

                      (5) Permits will not be issued where the drop-off and pick-up of vehicles interferes with the
                           safe operation of driveways, street intersections, crosswalks or other prohibited areas.

                      (6) Permits will not be issued where stacking of drop-off and pick-up of vehicles interferes
                           with the safe traffic operation on adjacent streets or unduly delays normal traffic
                           operations.

                      (7) Tandem storage of vehicles arrangements will be evaluated for meeting technical




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            standards.

                       (8) The permittee/operator shall abide by the terms and conditions set forth in the guides and
                           standards developed by the department, as amended. The entire permitting process shall
                           be completed within 50 calendar days.

           (Ord. No. 12588, § 1, 9-23-04; Ord. No. 13676, § 2, 4-27-17; Ord. No. 13792, § 1, 10-11-18; Ord. No. 14138,
           § 11, 2-9-23)


          Sec. 35-308. - Liability and insurance.

                   (a) Prior to the issuance of a permit, the permittee/operator shall furnish the director with a
                       signed statement, approved by the city attorney, that the permittee/operator shall hold-
                       harmless, indemnify and defend the city, its officers and employees and the department and
                       board of directors, their officers and employees for any claims for damages to property or
                       injury to persons which may be occasioned by any activity carried on under the terms of the
                       permit.

                  (b) Permittee shall furnish and maintain such public liability and property damage insurance to
                       protect from all claims and damage to property or bodily injury, including death, which may
                       arise from operations under the permit or in connection therewith. Such insurance shall be
                       provided from an insurance company with an A.M. Best rating of not less than "A" and a
                       financial strength rating of not less than "X," acceptable to the risk management division, and
                       shall provide coverage of not less than $1,000,000.00 for bodily injury, and property damage
                       respectively per occurrence. Such insurance shall be without prejudice to coverage otherwise
                       existing therein and shall name as additional insured the city, DOSP and board of directors, its
                       officers and employees, and shall further provide that the policy shall not terminate or be
                       canceled prior to the completion of the permit period without 45 days written notice to the
                       risk management division and the director at the address shown in the permit. Additionally,
                       permittee shall provide "garage keepers" legal liability insurance providing collision and
                       comprehensive coverage for vehicles under the control of the valet parking operator with a
                       minimum of $500.000 per location with a maximum self-insured retention (SIR) or deductible
                       of $1,000.00.

                   (c) The permittee/operator shall provide proof of all required insurance prior to receiving the
                       permit.

           (Ord. No. 12588, § 1, 9-23-04)


          Sec. 35-309. - Form and conditions of permit.

               The permit shall be issued on a form deemed suitable by the director and city attorney. In addition to



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          naming the permittee/operator, the conditions set forth in preceding sections of this article, and any
          other information deemed appropriate by the director, the permit shall also contain, the following
          conditions:

                     (1) Each permit shall be effective for six months, subject to biannual renewal. Any renewal of a
                         permit shall require compliance with all requirements for permits in the same manner as
                         an original application.

                     (2) The permit issued shall be personal to the permittee only and shall not be transferable in
                         any manner.

                     (3) The permit may be temporarily suspended by the director for a "community" or "special
                         event." The permittee shall be entitled to a pro rata credit on the next permit payment due
                         for any permit suspended a full business day or longer pursuant solely to this subsection.
                         Advance notice will be provided to permittees whenever practical.

                     (4) The director may require the temporary removal or relocation of valet parking service
                         when street, sidewalk, or utility repairs necessitate such action; if not able to relocate,
                         DOSP will credit the permittee/operator for number of days out of service.

                     (5) The department of fire-rescue or the police department may immediately remove or
                         relocate all or parts of the valet parking service in emergency situations. Officers of the
                         police department, or such special officers as are assigned by the chief of police or DOSP,
                         are hereby authorized to direct traffic, including drop-off and pick-up vehicles, as
                         conditions may require, notwithstanding the provisions of this chapter or other applicable
                         traffic ordinances.

                     (6) Under no circumstances shall the city, the department and the board of directors, and its
                         officers and employees be deemed responsible or liable in any way for any damage or loss
                         resulting from the removal of the permittee/operator equipment and other objects
                         necessary for the operation of the valet parking service during emergencies. Furthermore,
                         the permittee/operator agrees and acknowledges by accepting a permit issued pursuant to
                         this article that the city, the department and the board of directors are to be held harmless
                         in connection with its actions under this section.

                     (7) The permit shall be specifically limited to the area shown on the approved site plan
                         attached to and made part of the permit.

                     (8) The permittee/operator shall use positive action to assure that its use of the sidewalk in no
                         way interferes with sidewalk users or limits their free unobstructed passage.

                     (9) Mobile stands, tables, chairs, umbrellas, keyboxes and any other objects necessary for the
                         operation of the valet parking service shall be maintained with a clean and attractive
                         appearance and shall be in good repair at all times and removed at the close of business



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            each day.

                     (10) The sidewalk area covered by the permit shall be maintained in a neat and orderly
                            appearance at all times and the area shall be cleared of all debris on a periodic basis
                            during the day, and again at the close of each business day.

                     (11) No advertising signs shall be permitted on the sidewalk or in the public right-of-way, this
                            shall not prohibit the use of one business identification sign located on the sidewalk,
                            bearing no advertising and not exceeding five square feet in area, to be affixed to the valet
                            parking service stand to identify "Valet Parking."

                     (12) No mobile stands, tables chairs, umbrellas, keyboxes nor any other objects necessary for
                            the operation of the valet parking service shall be attached, chained, or in any manner
                            affixed to any tree, post, sign, or other fixtures, curb or sidewalk within or near the
                            permitted area. All valet parking service objects necessary for the operation of the valet
                            parking service, other than required traffic cones, shall be located no closer than 30 inches
                            behind the face of curb on the sidewalk.

                     (13) The permit covers only the pedestrian and public right-of-way. Valet parking services and
                            objects necessary for the operation of the valet parking service located on private property
                            shall be governed by other applicable city regulations.

                     (14) The permittee/operator shall provide written notification to the director and the chief of
                            police when operation of the valet parking service begins. Said notice shall be delivered
                            within 24 hours of such commencement.

                     (15) Tandem parking of vehicles shall be limited to a maximum of three vehicles (i.e. a
                            maximum of two vehicles shall be required to be moved to reach the vehicle sought).

                     (16) The permittee/operator shall have available on-site for display upon request a valid local
                            business tax receipt and valet parking permit issued pursuant to this article.

           (Ord. No. 12588, § 1, 9-23-04; Ord. No. 12885, § 1, 2-8-07)


          Sec. 35-310. - Valet permittees/operators code of conduct; required customer protection regulations.

              Permittees/operators shall require their employees and independent contractors to meet the
           following requirements:

                        (1) All employees who operate motor vehicles shall have in their possession a valid Florida
                            Driver's License in good standing and shall abide by all city, Miami-Dade County and state
                            traffic regulations.

                        (2) All employees shall be in similar uniforms.

                        (3) All employees shall wear on their uniform a name tag identifying the employee's name and




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            the name of the valet operator/company.

                      (4) All employees shall perform their duties in a courteous and professional manner.

                      (5) All employees must comply with the requirements of this article and all applicable laws,
                           statutes, ordinances, rules and regulations relating to traffic safety.

                      (6) Pricing for services shall be identified on any "signage" used by the valet operator. The size
                           print of the foregoing information shall be equal to the largest size print used on any
                           "signage" used to identify the service or valet operator. Claim tickets shall also indicate the
                           price for the service. The print size of the foregoing shall be equal to that used for any
                           other information displayed on the ticket.

                      (7) The claim ticket shall identify the valet operator's company name, correspondence address
                           and a phone number for questions/complaints. All of the foregoing print shall be of equal
                           size.

           (Ord. No. 12588, § 1, 9-23-04)


          Sec. 35-311. - Operational regulations and restrictions for valet parking service.

                  (a) The public on-street/curbside parking spaces, metered or non-metered, shall only be used for
                       ramping of vehicles. Ramping of vehicles shall consist of allowing the customer to enter or exit
                       a vehicle and to turn it over to or retrieve it from a valet parking operator employee. Ramping
                       shall only be permitted and operated in the public on-street/curbside spaces provided by the
                       department for ramping. There shall be no storage of vehicles in the area used for ramping. A
                       vehicle will be considered stored if it remains in the ramping area for more than ten minutes.
                       Ramping spaces shall not be blocked by any type of sign, structure or other type of object.
                       These spaces shall not be cordoned off by any type of signage, rope or barrier of any kind;

                  (b) The permittee/operator shall posses a valid local business tax receipt to operate the valet
                       parking service within the city;

                   (c) The permittee/operator shall maintain a key control booth at all valet parking locations until all
                       cars have been claimed; or the permittee/operator shall have a 24 hour phone number for
                       after hours vehicle pick up information.

                  (d) The permittee/operator shall not load or unload passengers within traffic lanes that are open
                       to through traffic;

                  (e) The valet parking service shall not interfere with the regular flow of vehicular or pedestrian
                       traffic.

           (Ord. No. 12588, § 1, 9-23-04; Ord. No. 12885, § 1, 2-8-07)


          Sec. 35-312. - Department denial, revocation, or suspension of permit; removal of equipment or personal



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          property of the permittee/operator and storage fees.

                  (a) The director may deny, revoke, or suspend a permit for any valet parking service authorized in
                      the city if it is found that:

                      (1) The permittee/operator has not maintained required insurance;

                      (2) The director determines that the operation of a valet parking service, due to changing or
                          changed conditions of pedestrian or vehicular traffic, cause congestion necessitating
                          removal of valet parking service which endangers the health, safety or welfare of persons
                          or property; unreasonably interferes with pedestrian or vehicular traffic; unreasonably
                          interferes with the use of any pole, sign, fire hydrant, traffic signal or other object already
                          permitted at or near the valet parking service area; or otherwise not in the public interest;
                          or

                      (3) The permittee/operator has failed to correct violations of this article or conditions of the
                          permit within three days of the Director's notice of same being delivered in writing to the
                          permittee at the address shown on the permit application;

                      (4) If permittee/operator is found in violation of the same offense three times within a permit
                          period;

                      (5) The permittee/operator made any false statements or omission of material fact on the
                          application, site plan or elsewhere in connection with securing a permit.

                      (6) The permittee/operator failed to properly pay and/or report operational, administrative,
                          rental fees, and/or parking facility surcharges pursuant to sections 35-194, 35-311, and
                          35-346 herein or any other applicable section of this Code.

                  (b) Stands, tables, chairs, umbrellas, key boxes and other objects necessary for the operation of
                      the valet parking service may be removed by the department or city, and a reasonable fee
                      charged for labor, transportation, and storage, should the permittee/operator fail to remove
                      said items at the close of business on a daily basis. Under no circumstances shall the city, the
                      department and the board of directors, and its officers and employees be deemed responsible
                      or liable in any way for any damage or loss resulting from the removal of the
                      permittee/operator equipment and other objects necessary for the operation of the valet
                      parking service. Furthermore, the permittee/operator agrees and acknowledges by accepting a
                      permit issued pursuant to this article that the city, the department and the board of directors
                      are to be held harmless in connection with its actions under this section.

                  (c) Upon a finding of a violation by the director based on subsection (a)(6) herein and a finding of
                      guilt after a hearing by the code enforcement board pursuant to chapter 2, article X of the City
                      Code, the permittee/operator shall pay treble fees; shall have its permit, certificate of use,
                      temporary certificate of use, and/or business tax receipt denied, revoked, or suspended for a



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             period of two years; be subject to any penalties applicable pursuant to section 35-347 herein;
             and/or be subject to debarment pursuant to section 18-107 of the City Code.

                   (d) Upon denial or revocation, the director shall give notice of such action to the applicant or the
                       permittee/operator in writing stating the action which has been taken and the reason thereof.
                       If the action of the director is based on subsection(s) (a)(1) or (2) of this section, the action shall
                       be effective upon giving such notice to permittee. Otherwise, such notice application shall
                       become effective within ten calendar days unless appeal to the city commission is made.

            (Ord. No. 12588, § 1, 9-23-04; Ord. No. 13809, § 2, 11-15-18)


           Sec. 35-313. - Appeals of permit denial or revocation.

                   (a) Appeals shall be initiated within ten days of a permit denial or revocation by filing a written
                       notice of appeal with the city manager, and a copy of same delivered the same day to the
                       director. Any revocation effective immediately may also be appealed to the city commission by
                       such filing within ten calendar days.

                   (b) The city manager shall place the appeal on the first non-planning and zoning city commission
                       agenda for which proper notice can be given to the permittee, and shall notify the director
                       thereof. At the hearing the city commission may modify, grant or deny the appeal, and the
                       decision of the city commission shall be final subject to appeal to the appropriate court of
                       competent jurisdiction, according to the Florida Rules of Civil Procedure.

                   (c) The filing of a notice of appeal by a permittee shall not stay an order by the director to remove
                       valet parking service or parts thereof. Vestiges of the valet parking service shall be removed
                       immediately, pending disposition of the appeal and final decision of the city commission.

            (Ord. No. 12588, § 1, 9-23-04)


           Sec. 35-314. - Enforcement; �ne schedule and penalty provisions.

                   (a) Enforcement. The officers shall enforce the provisions of this article. This shall not preclude
                       other enforcement agencies or regulatory bodies from any action as necessary to ensure
                       compliance with this article and all applicable laws. For any violation of a provision of this
                       article the officer shall issue a notice of violation/citation to the permittee/operator. The notice
                       shall state the nature of the violation, amount of fine, instructions and due date for paying the
                       fine, notice that the violation may be appealed by requesting an administrative hearing within
                       ten calendar days after service of the notice and that failure to appeal the violation within the
                       ten calendar days, shall constitute an admission of the violation and a waiver of the right to
                       appeal.

                   (b) Additional enforcement. As an additional means of enforcement, the department may seek



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           injunctive relief and/or the city may follow procedures to revoke local business tax receipts as
           set forth elsewhere in the City Code when there are repeat violations of this article.
           Additionally, the department, may withhold issuance of any new valet permits and suspend
           current valet parking permits until past due violations are paid in full.

                 (c) Rights of violator: payment of fine; right to appeal. For civil infractions or notice of violations
                     pursuant to section 2-811 et seq., of the City Code, the citing officer shall issue either a civil
                     infraction or a notice of violation which, upon adjudication by the code enforcement board,
                     can lead to daily fines of up to $1,000.00 per diem for a first-time offender or up to $5,000.00
                     per diem for a repeat violator.

                 (d) Recovery of unpaid fines. The department may institute proceedings in a court of competent
                     jurisdiction to compel payment of civil penalties. A certified copy of an order imposing a fine
                     may be recorded in the public records.

                 (e) Civil fines. The following civil fines shall be imposed for each violation unless a notice of
                     violation is issued. Fines will be paid to the department with one-third remaining with the
                     department and two-thirds being forwarded to the city finance department. To determine the
                     exact nature of the activity prescribed or required the specifics of this article must be
                     examined The below table does not reflect possible per diem fine amounts based upon the
                     issuance of a notice of violation under section 2-814 through 2-820 of the City Code. Civil fines
                     shall issue in the amount as follows and may be issued every 24 hours should the violation
                     remain outstanding:


           (1) Unauthorized/illegal ramping                        $500.00 per o�ense


           (2) Unauthorized/illegal storage                        $500.00 per o�ense


           (3) Lapse of insurance (from date of lapse)             $150.00 per day


           (4) Operation without permit                            $500.00 per day


           (5) No name tag                                         $100.00 per o�ense


           (6) No uniform                                          $100.00 per o�ense


           (7) No valid FL drivers license                         $500.00 per o�ense and immediate removal
                                                                   of the employee from service.




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              (8) Violation of guides and standards                   $250.00 per o�ense


              (9) Other violation of this article                     $250.00 per o�ense.




            (Ord. No. 12588, § 1, 9-23-04; Ord. No. 12885, § 1, 2-8-07; Ord. No. 14142, § 2, 2-9-23)


           Sec. 35-315. - Special events and residential areas.

                   (a) Valet service—special event. Valet services operating for a special event may apply for a
                        special event permit at DOSP. Special event parking shall be restricted to any event occurring
                        no more than twice per year and lasting no longer than three days in length. The special event
                        permit will allow the valet operator to request from the department, additional ramping
                        and/or storage space, if available, as long as it does not reduce the number of parking spaces
                        needed to serve the general public in the area of the request.

                   (b) Valet service—residential. Valet service may be provided for non-commercial uses, including
                        private functions in residentially zoned areas for a one day. Valet operators must meet the
                        same criteria as a regular day to day valet operation as referenced in the permit application
                        (see section 35-305). Valet operators must complete a temporary valet parking permit form
                        and submit this form to DOSP 14 days prior to the scheduled event.

                Note: Temporary valet parking permit requests submitted within less than 14 working days of a
            scheduled event will only be accepted for situations deemed as an emergency. An emergency is defined
            as a situation or occurrence of a serious nature, developing suddenly and unexpectedly within less than
            14 working days of the event and demanding immediate attention.

                The following requirements must be satisfied:

                       (1) Ramping. Valet ramping may be provided either on private property at the location to be
                            serviced or on public property but not in a T3 transect zone. Ramping on public property
                            shall not occur in any other location than the public on-street/curbside parking spaces
                            provided for ramping. Ramping from a moving lane of traffic is strictly prohibited unless
                            authorized by the city. The ramping area shall be determined as stated in section 35-304,
                            unless specified otherwise in this article.

                       (2) Storage. Storage of vehicles must be in compliance with section 35-305. Storage of vehicles
                            on public right-of-way is strictly prohibited, unless authorized by DOSP.

                            a. Storage on public right-of-way. Valet operators may request the use of public right-of-




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             way for storage under the following conditions:

                               1. Private or public storage (parking lot and/or garage) is not available within 2,500
                                  feet of the location to be serviced.

                               2. All prohibited parking regulations (fire hydrants, crosswalks, etc.) are strictly
                                  enforced.

                               3. T3 transect zones may not be used for temporary or permanent storage of
                                  vehicles.

            (Ord. No. 12588, § 1, 9-23-04; Ord. No. 14142, § 2, 2-9-23)


           Secs. 35-316—35-340. - Reserved.




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         ARTICLE X. - PARKING FACILITIES SURCHARGE



                  Footnotes:
                  --- (9) ---
                  Editor's note— Ord. No. 13568, § 1, adopted October 22, 2015, redesignated the former article IX as article X.      Ord.
                  No. 12563, adopted July 22, 2004, repealed article IX in its entirety, and §§ 3—9 of said ordinance reenacted provisions
                  to read as herein set out. Formerly, article IX pertained to similar subject matter and derived from Ord. No. 11813, §§
                  3—9, adopted July 13, 1999.




         Sec. 35-341. - Short title.

              This article shall be known and cited as the "City of Miami Parking Facilities Surcharge Ordinance."

           (Ord. No. 12563, § 3, 7-22-04)


         Sec. 35-342. - Intent.

              This article is intended to impose and levy a surcharge on the sale, lease or rental of space at parking
           facilities in the city at the rate of 15 percent of the revenues derived from any fee, charge or exchange for
           the parking of a motor vehicle in or on any parking facility in the city for which a fee, charge or exchange
           is made on an hourly, daily, weekly, monthly, yearly, event, validation programs, valet or any other basis.
           Revenues received as part of a daily, weekly, monthly, yearly, or event based rent without a separate
           parking fee designation are also subject to this article. The net proceeds of the surcharge collected shall
           be deposited in the general fund subject to appropriation pursuant to the budget and fiscal provisions of
           the annual budget process.

           (Ord. No. 12563, § 4, 7-22-04; Ord. No. 13063, § 2, 5-14-09)


         Sec. 35-343. - Authority.

              The city commission is authorized to establish and adopt a surcharge pursuant to the authority
           granted by F.S. § 166.271. The provisions of this article shall not be construed to limit the power of the
           city to adopt such ordinance pursuant to any other source of local authority nor to utilize any other
           methods or powers otherwise available for accomplishing the purposes set forth herein, either in
           substitution of or in conjunction with this article.

           (Ord. No. 12563, § 5, 7-22-04)


         Sec. 35-344. - De�nitions.

              As used in this article the following words and terms shall have the following meanings, unless


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          another meaning is plainly intended:

             City means the City of Miami, Florida.

             Daily means the operation of a facility on any or all of the seven (7) days of the week, inclusive of
          holidays.

             Fee, charge or exchange means the consideration paid including any and all compensation received or
          costs imposed, collected or exacted by the operator for parking in a parking facility including exchange,
          credit or otherwise. Fee, charge or exchange also means the consideration paid to the operator for goods
          and services ancillary to parking, if payment for such goods and services is mandatory and not optional
          to the user entering into a parking transaction. Examples of goods and services that may be considered
          ancillary to parking include, but are not limited to, food, beverages, air fresheners, windshield cleaning,
          car wash, tire pressure checks, jump starts, and emergency phone services. The intent of this definition is
          to impose the surcharge on all consideration paid by the user as a condition of entering into a parking
          transaction, irrespective of whether particular components of such consideration are characterized as
          compensation received or cost imposed for goods and services separate and apart from parking in an
          attempt to evade the surcharge.

             Garage means any building or other structure in which motor vehicles may be parked, stored, housed,
          or kept for a fee, charge or exchange.

             Manager means the city manager of the city or his or her designee.

             Motor vehicle means any self propelled vehicle operated or suitable for operation in a parking facility.

             Net proceeds means the amount of the surcharge remitted to the city less the allocable cost of
          procedures used and expenses incurred by the city to enforce collection of the surcharge in an amount
          not to exceed five percent (5%).

             Open to the general public means a facility which charges a fee, charge or exchange for the use of any
          parking space therein regardless of when or how the fee, charge or exchange is collected. The intent of
          this definition is to include all parking facilities including parking facilities that are used by anyone,
          including but not limited to any private tenant, who must pay a fee, charge or exchange to the operator
          of the parking facility except for those facilities described in section 35-345.

             Operator means any individual, partnership, association, corporation, or other entity which owns,
          controls, conducts, leases, operates, or causes to be operated a parking facility which offers parking
          accommodations for a fee, charge or exchange. The intent of this definition is to place the burden for
          collection of the surcharge on the owner of the facility and not the entity which operates the facility if
          different from the owner.

             Parking means the parking, storing, housing or keeping of a motor vehicle.



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              Parking facility means any use in whole or in part of any space, plot, place, lot, parcel, yard, enclosure,
          parking lot, garage, street, building or structure that is open to the general public at which motor vehicles
          may be housed, stored, kept, or parked for which any fee, charge or exchange is made, no matter how
          the fee, charge or exchange is collected.

              Parking lot means any outdoor area or space motor vehicles may be parked, stored, housed or kept
          for a fee, charge or exchange.

              Revenues means, any and all revenue, to include the entire amount of compensation in whatever
          form, exchange or otherwise, to be determined according to generally accepted accounting principles,
          derived directly or indirectly from or in connection with the parking operation of the parking facility.

              Surcharge means the parking facility's surcharge expressed as a percentage or in dollars.

              Transaction means the parking, storing, housing or keeping of a motor vehicle in a parking facility, in
          the city, for a fee, charge or exchange.

          (Ord. No. 12563, § 6, 7-22-04; Ord. No. 13063, § 2, 5-14-09)


         Sec. 35-345. - Applicability of parking facilities surcharge.

              This article shall be uniformly applicable to all parking in parking facilities in the city, exclusive of
          residential parking of tenants or residents, in apartments, condominiums or co-operatives where parking
          is provided pursuant to a lease or in a separate writing between the apartment building owner,
          condominium or cooperative and the tenants or residents, whether a parking charge is payable to the
          apartment owner, condominium or cooperative or to the operator of a residential parking facility. This
          article shall not apply to any parking facilities located in any airports, seaports, county administration
          buildings or other projects defined under F.S. §§ 125.011 and 125.015.

          (Ord. No. 12563, § 7, 7-22-04; Ord. No. 13063, § 2, 5-14-09)


         Sec. 35-346. - Collection of the parking facilities surcharge.

                  (a) Surcharge amounts due pursuant to this article shall be collected by the operator of a parking
                      facility at the time of, and in addition to, collection of any other amounts for the parking of a
                      motor vehicle in a parking facility, whether charge is made on an hourly, daily, weekly,
                      monthly, yearly, event, validation programs, valet or any other basis. All operators shall be
                      required to maintain a valid operational license. The local business tax receipt of an operator
                      shall be revoked upon the failure to remit the surcharge amounts for three (3) consecutive
                      months. No operator shall be permitted to operate the parking facility until all arrears are
                      paid.




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                 (b) The operator of every parking facility shall remit funds collected pursuant to this surcharge,
                     net of refunds, for the preceding calendar month; payments must be received by the city by
                     the 20th day of each calendar month. Each monthly remittance will be accompanied by such
                     reports as may be prescribed by the manager on forms identifying for each parking facility, the
                     name, address, account number, capacity, parking charges or fees, or rate schedule, number
                     and type of transactions and such other information as may be necessary or convenient to
                     fully calculate the surcharge.

                 (c) Every operator of a parking facility shall keep complete and accurate records, in a manner as
                     set forth by the manager, pursuant to subsection 35-346(f)(1) of this Code, of all motor
                     vehicles parked on an hourly, daily, weekly, monthly, yearly, event, validation programs, valet
                     or any other basis in the parking facility, together with the amount of surcharge collected from
                     all transactions, and shall keep all pertinent records and documents as are necessary to
                     determine the amount of surcharge due for a period of three (3) years subsequent to the year
                     of the transaction. Such records and other pertinent data shall be available for inspection and
                     examination upon the request of and with reasonable notice by the manager. Every operator
                     shall provide access to the parking facility to the manager so the manager can survey the
                     parking activity of said facility.

                 (d) Whenever any operator fails to keep records from which the surcharge may be accurately
                     computed, the manager may make use of a factor developed by surveying the operator or
                     other operators of a similar type parking facility, or otherwise compute the amount of
                     surcharge due, and this computation shall be prima facie correct.

                 (e) Whenever any operator fails to collect or remit to the manager the surcharge imposed within
                     the time limit therefor, the manager shall assess the operator the amount of surcharge due,
                     plus interest at the rate of one percent (1%) per month or any fraction thereof, and a penalty
                     of ten percent (10%) of the surcharge due on uncollected or unremitted amounts.

                 (f) In addition to the powers granted to the manager in connection with the collection of the
                     surcharge, the manager is authorized and empowered:

                     (1) To make, adopt and amend such forms, rules and regulations as may be deemed
                         necessary or proper to fully collect the surcharge and to define any terms used in
                         connection with the imposition and collection of the surcharge;

                     (2) To compromise disputed claims in connection with the surcharge and for good and
                         sufficient cause shown to waive interest and penalty;

                     (3) To delegate any of the duties and functions in connection with the collection of the
                         surcharge and the enforcement of the provisions relating to the manager, provided
                         however, that all regulations promulgated shall be issued by the manager.




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                      (4) To extend, for good cause shown, the time for remitting any surcharge required to be paid
                            for such period of time as may be deemed reasonable by the manager.

                      (5) To retain the services of persons or entities with parking related collection experience to
                            collect the surcharge subject to competitive procurement procedures.

                      (6) To enforce any of the penalties described in section 35-347 when an operator of a parking
                            facility fails, neglects or refuses to pay penalties and interest.

          (Ord. No. 12563, § 8, 7-22-04; Ord. No. 12885, § 1, 2-8-07; Ord. No. 13063, § 2, 5-14-09; Ord. No. 13257, §
          2, 3-10-11)


         Sec. 35-347. - Failure to comply; penalties.

                  (a) The operator of a parking facility who:

                      (1) Fails, neglects or refuses to collect the surcharge;

                      (2) Fails, neglects or refuses to remit the surcharge;

                      (3) Fails, neglects or refuses to keep accurate records;

                      (4) Submits any incomplete, false or fraudulent return;

                      (5) Refuses to permit the manager to examine books, records and papers relating to the
                            surcharge; or

                      (6) Fails to fully comply with any or all rules or regulations promulgated by the manager
                            pursuant to the authority contained herein, or to keep complete and proper records as
                            required, shall be subject to the following penalties for each offense:

                             (i) Have his or her local business tax receipt revoked;

                            (ii) Have a lien placed upon the parking facility for the sums owed plus interest pursuant
                                to law;

                            (iii) Be subject to an administrative fine in the amount of $500.00;

                            (iv) Be required to comply with stricter reporting requirements; and/or

                            (v) In addition to any other penalties provided in this section, upon the finding of a
                                violation based on this section, the operator shall pay treble fees; be subject to denial,
                                revocation, or suspension of its permit, certificate of use, temporary certificate of use,
                                and/or business tax receipt for a time period not to exceed two years after a hearing
                                before the code enforcement board pursuant to chapter 2, article X of the City Code;
                                and/or debarment pursuant to section 18-107 of the City Code.

                 (b) The operator of a parking facility who:

                      (1) Has outstanding surcharge payments for three months;

                      (2)


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          Has outstanding penalty and interest payments for three months;

                     (3) Fails to maintain complete and accurate records as stipulated by the ordinance;

                     (4) Fails to comply after receiving two notifications regarding compliance with the ordinance;
                         or

                     (5) Fails to comply with an audit request after the manager has reasonably attempted to
                         schedule such audit shall be subject to additional reporting requirements including:

                          (i) The operator of the parking facility will be required to register parking slips, receipts,
                               chits, tickets or the like with the manager.

                         (ii) The operator of the parking facility will be required to complete and submit a "Parking
                               Surcharge Recap Monthly Report."

                         (iii) The operator of the parking facility may be required to install parking revenue control
                               equipment in said facility, as approved by the city manager or city commission.

                         (iv) The operator of the parking facility may be required to cease operation for a period of
                               30 days.

                         (v) In addition to any other penalties provided in this section, upon the finding of a
                               violation based on this section, the operator shall pay treble fees; be subject to denial,
                               revocation, or suspension of its permit, certificate of use, temporary certificate of use,
                               and/or business tax receipt for a time period not to exceed two years after a hearing
                               before the code enforcement board pursuant to chapter 2, article X of the City Code; or
                               debarment pursuant to the City Code.

                 (c) Repeat operator violations. The operator of the parking facility who:

                     (1) Has been found to have underreported parking revenue or parking surcharge amounts;

                     (2) Has been found to not maintain complete and accurate records as stipulated by the
                         ordinance;

                     (3) Has been assessed an administrative fine more than once; or

                     (4) Has been found violating any part of this section more than once shall be subject to:

                          (i) The operator shall continue to be subject to all remedies noted in subsection (a)(6).

                         (ii) The operator of the parking facility shall be required to cease operation for a period of
                               30 days.

                         (iii) The operator of the parking facility shall be required to install parking revenue control
                               equipment which will monitor and count the number of vehicles admitted to and
                               leaving from a parking facility. This equipment shall be approved by the city manager
                               or city commission. This type of equipment shall have entrance and exit counters that
                               count every vehicle that enters and exits a parking facility and shall include non-




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          resettable, continuous counters. The equipment shall be used and effective during
          operating hours.

                 (d) Further, the city is authorized to seek injunctive or other equitable relief to enforce compliance
                     with this article.

          (Ord. No. 12563, § 9, 7-22-04; Ord. No. 12885, § 1, 2-8-07; Ord. No. 13063, § 2, 5-14-09; Ord. No. 13257, §
          2, 3-10-11; Ord. No. 13806, § 2, 11-15-18)




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Sec. 10-101. - Unsafe structures and unsafe structures panel.

              (a) General.
                 (1) Unsafe structures panel(s) shall hear unsafe structures cases, and appeals of decisions, of the
                     city building official, or designee, declaring properties and their structures and accessory
                     structures to be unsafe where there is a danger to the health, safety, and welfare of the
                     citizens in the community, all in the manner prescribed in this article. If such structure has
                     been designated historic and is under the city's historic preservation jurisdiction, demolition
                     procedures shall, whenever possible, abide by the process as set out in the city's historic
                     preservation ordinance as found in chapter 23 of this Code, unless there is an immediate
                     threat of danger, as determined by the building official, or designee.
                 (2) Buildings or structures that are, or hereafter shall become, unsafe, unsanitary or deficient,
                     and dilapidated facilities, with inadequate means of egress, or which constitute a fire or
                     windstorm hazard, or are otherwise dangerous to human life or public welfare by reason of
                     illegal or improper use, occupancy or maintenance, or which have been substantially
                     damaged by the elements, acts of God, fire, explosion or otherwise, shall be deemed unsafe
                     structures and a permit shall be obtained to demolish the structure, or where specifically
                     allowed by this article, to bring the building into compliance with the applicable codes as
                     provided herein.
                 (3) Incomplete buildings commenced without a permit or for which the permit has expired, or
                     completed buildings commenced without a permit or for which the permit has expired, prior
                     to completion and no certificate of occupancy has been issued, shall be presumed and
                     deemed unsafe and a permit shall be obtained to demolish the structure or bring the building
                     into compliance with the applicable codes as provided herein.
                 (4) Buildings which meet the physical criteria of unsafe structures, set forth in this section, and
                     are ordered to be repaired by the building official, or designee, or the unsafe structures
                     panel, in the manner more particularly set forth below, which are not completed or repaired
                     and brought into full compliance with the building code within the reasonable time allowed
                     by the building official, or designee, or the unsafe structures panel, will be demolished.
                 (5) Swimming pools that contain stagnant water are deemed unsanitary and dangerous to
                     human life and the public welfare. If the stagnant water is not removed and all repairs made
                     and brought into full compliance with the building code within a reasonable time, as allowed
                     by the building official, then these swimming pools will be demolished and filled in.
                 (6) Buildings or structures subject to the recertification requirements in subsection 8-11(f) of the
                     Miami-Dade County Code which the owner fails to timely respond to the notice of required
                     inspection or fails to make all required repairs or modifications found to be necessary


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    resulting from the recertification inspection by the deadline specified in the Code or any written extension
    granted by the building official, or designee, will be demolished.
              (b) Physical criteria.
                  (1) A building shall be deemed a fire hazard or unsafe when any of the following criteria are met:
                       a. It is vacant, unguarded and open at doors or windows.
                      b. There is an accumulation of debris or other material therein representing a hazard of
                            combustion.
                       c. The building condition creates hazards with respect to means of egress and fire
                            protection as provided herein for the particular occupancy.
                      d. It meets the criteria of a vacant and abandoned property under chapter 10 of this Code or
                         under chapter 8 of the Miami-Dade County Code.
                  (2) A building, or part thereof, shall be presumed to be unsafe if:
                       a. There is a falling away, hanging loose or loosening of any siding, block, brick, or other
                            building material.
                      b. There is a deterioration of the structure or structural parts.
                       c. The building is partially destroyed.
                      d. There is an unusual sagging or leaning out of plumb of the building or any parts of the
                         building and such effect is caused by deterioration or over-stressing.
                       e. The electrical or mechanical installations or systems create a hazardous condition
                            contrary to the standards of the building code.
                       f. An unsanitary condition exists by reason of inadequate or malfunctioning sanitary
                            facilities or waste disposal systems.
                       g. By reasons of use or occupancy the area, height, type of construction, fire-resistivity,
                          means of egress, electrical equipment, plumbing, air conditioning or other features
                            regulated by this Code do not comply with this Code for the use and group or occupancy.
                      h. The construction, installation of electrical, plumbing or other equipment therein or
                            thereon, or the partial construction or installation of electrical, plumbing or other
                            equipment has been commenced or completed without a permit therefore having been
                            obtained or where the permit has expired prior to completion and the issuance of a
                            certificate of occupancy or certificate of completion.
                       i. The construction, installation of electrical, plumbing or other equipment therein or
                            thereon, or the partial construction or installation of electrical, plumbing or other
                            equipment has not been completed.
                       j.


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    The building or structure is vacant and abandoned, and covered at doors or windows with materials not
    previously approved by the building official, or designee, or for a period exceeding the maximum
    limitations set forth in this article.
                      k. By reason of illegal or improper use, occupancy or maintenance does not comply with the
                         building code, or the code in effect at the time of construction.
                      l. The building or part thereof meets the physical criteria of an unsafe structure set forth
                         above and has not been repaired and brought into compliance with the building code
                         following the expiration of the reasonable periods allowed by the building official, or
                         designee, or an unsafe structures panel for such repairs.
                 (3) Grow houses. A building or structure that has been identified by any law enforcement officer
                     as being used to grow or manufacture controlled substances as defined by F.S. ch. 893 or any
                     drugs, as defined in F.S. ch. 499 (a "grow house") shall be presumed to be unsafe if any one of
                     the following criteria has been satisfied:
                      a. There is an open and obvious modification or addition to any of the structure's electrical
                         wiring or electrical components, or there exists any exposed wires or exposed electrical
                         components;
                      b. There is an open and obvious modification or addition to any of the structure's plumbing,
                         and/or any discharge of water or other effluent that is not into an ordinarily available
                         drain;
                      c. The structure's interior walls have been destroyed, moved, or modified in any way. This
                         may be evidenced by marks on the ceiling and/or floor that are indicative of a wall having
                         been moved or removed, holes or passages in a wall that are not ordinary, and may be
                         unfinished in appearance. This list shall not be considered exhaustive such that any other
                         evidence of walls being destroyed, moved or modified shall be proper;
                      d. Any exterior window has been modified or covered in such a way, so as to inhibit or
                         reduce egress or which inhibits or prevents normal use for ventilation purposes; this shall
                         not include curtains and other ordinary window coverings; or
                      e. Any of the structure's exterior or interior doors have been modified or covered in such a
                         way to prevent or inhibit ingress or egress.
              (c) Upon observation of any one of the above criteria in subsection (b), any city enforcement
                 personnel shall be authorized to post and shall post a notice in a conspicuous location on the
                 building or structure that has been determined to be unsafe.
                 (1) The posted shall read substantially as follows:
                      (i) Unsafe structure(s) meeting criteria for immediate or emergency demolition: "UNSAFE
                         BUILDING. This building or structure is, in the opinion of the City of Miami, unsafe. THIS
                         BUILDING SHALL BE VACATED-SHALL NOT BE OCCUPIED. The owner should contact the
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    City of Miami Building Department immediately. THIS NOTICE SHALL NOT BE REMOVED EXCEPT BY THE
    BUILDING OFFICIAL OR DESIGNEE. DATE (insert date posted)." This notice shall also apply to any
    structure(s) where it is determined by the Building Official or Designee that it is not safe for occupancy until
    required repairs are completed. This Notice may be appealed to the Unsafe Structure Panel within twenty
    (20) days of posting."
                  (ii) Unsafe structure(s) not meeting criteria for immediate demolition: "UNSAFE BUILDING.
                      This building or structure is, in the opinion of the City of Miami unsafe due to conditions
                      or unpermitted work but is not determined to meet criteria for immediate or emergency
                      demolition. The owner should contact the City of Miami Building Department
                      immediately. THIS NOTICE SHALL NOT BE REMOVED EXCEPT BY THE BUILDING OFFICIAL
                      OR DESIGNEE. If the structure(s) are not brought into compliance, the structure(s) may be
                      ordered vacated and demolished. DATE (insert date posted). This Notice may be appealed
                      to the Unsafe Structure Panel within twenty (20) days of posting."
              (2) Entry to any structure posted with such a notice under subsection (c)(1)(i) shall be prohibited
                  except by an order issued by a court of competent jurisdiction, until such time as all
                  necessary inspections listed in subsection (4) have been completed.
              (3) Within 24 hours of the notice being posted by the building official, or designee, the Miami
                  Police Department shall notify the building department of any trespass violations pursuant to
                  subsection (c)(1)(i). Upon receiving such notification from the Miami Police Department the
                  building department shall immediately send a notice of violation in accordance with the
                  provisions of this article. This notice shall also state that building official, or designee, will
                  conduct an inspection of the structure and issue a notice of violation within five business
                  days.
              (4) All structures that meet any of the criteria from subsection (c)(1) above and have been posted
                  with the requisite notice, must be approved by the building department based upon all of the
                  following inspections before the structure can be deemed safe for use:
                  a. An electrical inspection;
                  b. A plumbing inspection;
                  c. An inspection by a certified mold inspector; and
                  d. An inspection by a structural engineer.
                  Upon completion of the inspections described herein, an inspection report shall be filed with
                  the building department for approval. The building director shall proscribe the forms to be
                  used for the inspections described herein and shall be authorized to charge a fee for the
                  review of the inspection reports. Each inspection report shall certify that there is currently no
                  unsafe or hazardous conditions currently existing in the structure, all building code violations
                  corrected and the structure is safe for occupancy. No building deemed unsafe and meeting

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                      criteria for immediate or emergency demolition pursuant to this section shall be occupied.
                      Nothing herein shall relieve the owner from the requirement to obtain permits for any repairs
                      required to meet the requirements of this section.

              (d) Valuation criteria.
                  (1) If the cost of completion, alteration, repair and/or replacement of an unsafe building or
                      structure or part thereof exceeds 50 percent of its value, such building shall be demolished
                      and removed from the premises. If the cost of completion, alteration, repair and/or
                      replacement of an unsafe building or structure or part thereof does not exceed 50 percent of
                      its value, such building or structure may be repaired and made safe, as provided herein.
                  (2) For purposes of application of this formula, value shall be the estimated cost to replace the
                      building in kind, excluding depreciation. The estimate shall be derived from multiplying the
                      value of the square footage of construction used by the building department to calculate the
                      applicable permit fee. That estimate shall be broken down on a percentage basis into an
                      estimate of the following critical elements of construction, as applicable: structural, roofing,
                      electrical, plumbing and mechanical, and other building components ("valuation of
                      construction components"). The cost of completion, alteration, repair or replacement shall be
                      estimated by application of the percentage of deterioration found on site for each of the
                      critical elements of construction to the valuation of construction components for the
                      structure, to arrive at an overall estimated cost to repair the affected structure. The
                      appointing authority shall by administrative order provide a form for the application of the
                      formula set forth above for the various types of construction.
                  (3) If a building or structure may be repaired and made safe pursuant to the valuation criteria set
                      forth above, and the building or structure is otherwise unsafe in accordance with the physical
                      criteria set forth in this article, the building official or designee may order such building or
                      structure to be temporarily secured in the manner and subject to the limitations set forth in
                      this article. Such building must be completed and brought into full compliance with the
                      building code within such time as the building official, or designee, or unsafe structures panel
                      may determine to be reasonable for such completion. If the building or structure is not
                      temporarily secured, completed and brought into full compliance with the building code
                      within the reasonable periods allowed, such building or structure shall be demolished and
                      removed from the premises.
                  (4) When any electrical or structural repairs or modifications are required, the responsible
                      engineer or architect who has performed the inspection must provide the building official or
                      designee with a letter indicating whether or not the building or structure may continue to be




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    occupied while the building or structure is undergoing repairs. Such letter shall be valid for no more than
    180 days, and a new letter must be issued if repairs or modifications remain ongoing.
                 (e) Inspection of unsafe buildings and structures. The building official, or designee, on their own
                     initiative or as a result of reports by others, shall examine or cause to be examined every
                     building or structure appearing or reported to be unsafe, and if such is found to be an unsafe
                     building or structure as defined in this article, the building official or designee shall proceed in
                     the manner set forth in this article.
              (f) Emergency action.
                 (1) When in the opinion of the building official, or designee, there is actual or immediate danger
                     of the failure or collapse of a building or structure, or there is a health, windstorm or fire
                     hazard, he may order the occupants to vacate, temporarily close for use or occupancy the
                     rights-of-way thereto, sidewalks, streets or adjacent buildings or nearby area and institute
                     such other temporary safeguards, including securing the building or structure, as he may
                     deem necessary under the circumstances, and may employ the necessary labor and materials
                     to perform the required work as expeditiously as possible. In such event, the operation of the
                     notice and hearing requirements of this section shall be suspended as reasonably necessary
                     in the opinion of the building official, or designee, to redress the emergency situation. Costs
                     incurred in the performance of such emergency work shall be paid by the appropriate
                     governmental authority and upon the recording in the public records of this county a
                     certificate executed by the building official, or designee, certifying the amount so expended,
                     the same shall become a lien against the property involved.
                 (2) For purposes of subsection (f), "owner" shall mean the owner of an apartment building or a
                     condominium/condominium unit.
                     When the building official or designee orders an occupied residential building, either
                     apartment or condominium, with four or more units to be vacated, as authorized in
                     subsection 10-101(f)(1), and deems that there is an actual or immediate danger of the failure
                     or collapse of a building or structure, or health, windstorm, or fire hazard, which is a result of
                     the negligent or intentional act or failure to act by the owner(s), the owner shall, after posting,
                     within 24 hours make, or cause to be made, all necessary arrangements to relocate the
                     residents of the building into housing that is safe, sanitary, and secure, and the owner shall
                     pay, or cause to be paid, all of the reasonable expenses involved in such relocation. If the
                     owner fails to timely relocate displaced residents, city personnel shall be empowered to assist
                     in the relocation, and the owner shall pay all reasonable expenses incurred by the city, in
                     accordance with the following:

                     a.


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    Service of a notice of required payment of costs of resident relocation shall be made upon the owner by
    posting the notice in a conspicuous location at the premises ordered to be vacated and by mailing the
    notice certified, return receipt requested through the USPS to the address listed in the records of the
    property appraiser's office for tax notices for the property and in the case of a condominium, to the
    condominium board and board president.
                      b. The notice of required payment of costs of resident relocation shall include:
                           i. An affidavit itemizing the city's expenses incurred in the relocation;
                          ii. The date of issuance;
                         iii. The name of the department or division issuing the notice;
                         iv. The obligation to relocate a resident or residents pursuant to subsection 10-101(f) of
                             the City Code;
                          v. The amount of relocation costs for which reimbursement is sought, up to three
                             months, the financial assistance shall be in an amount not to exceed three months'
                             fair market rent, as defined by the United States Department of Housing and Urban
                             Development;
                      c. With respect to apartment rental units, the obligations of owners under this subsection
                         shall only apply to tenancies entered into after the effective date of this subsection.
                      d. Once notice requiring payment of costs accomplished, owner shall have 30 days to pay.
              (g) Unsafe structures meeting valuation criteria for immediate demolition.
                 (1) The provisions below shall apply to buildings or structures meeting the valuation criteria for
                     demolition.
                 (2) The building official, or designee, shall prepare a notice of violation. The building official, or
                     designee, shall prepare a notice of violation. This written notice shall state in summary form:
                      (i) The nature of defects which constitute a violation of this section; and
                     (ii) In such time not to exceed ten days to secure an open structure to the reasonable
                         satisfaction of the building official and time to comply by obtaining an approved permit
                         within 30 days. Failure to comply with any portion of the timeframe provided can result in
                         the matter being set for hearing before the unsafe structure panel;
                     (iii) This notice shall also state that the specific details concerning the violations can be
                           obtained in writing from the building official on request. In addition, this notice will
                         explain the right of appeal of the decision of the building official, or designee, to the
                         unsafe structures panel, in its appellate capacity and also advise that unless there is
                         compliance with the directions of the building official, or designee, a case will be
                         commenced before the unsafe structures panel with the city seeking demolition without
                         further notice.

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              (3) The notice of violation shall be affixed to the structure concerned. The building official, or
                  designee, shall also affix to the structure notice of the hearing of the unsafe structures panel
                  scheduled to consider any appeal of the decision of the building official in connection with the
                  structure. The notice of hearing shall be issued by the director of the building department or
                  his/her designee for appeals to an unsafe structures panel advising persons to appear before
                  the panel to show cause why the decision of the building official should not be carried out.
                  The hearing shall not be scheduled earlier than 30 days following the date of posting of the
                  notice of hearing and notice of violation.
              (4) The building official, or designee, shall post a notice bearing his or her signature in a
                  conspicuous location on the building or structure that has been determined to be unsafe. The
                  posted notice shall read as provided for in subsection (c)(1).
              (5) Within ten working days of posting the notice of violation and/or notice of hearing, the
                  building official or designee, shall send written notice of violation to the owner. For hearings,
                  notice shall go to both the owner and any interested party. For these purposes, the owner
                  shall be the taxpayer as reflected in the most recently certified real property ad valorem tax
                  roll of Miami-Dade County; provided however, where the records of the Dade County
                  Property Appraiser indicate that ownership has changed, the owner shall be the taxpayer as
                  reflected in those records. An interested party shall be the owner and any other person or
                  entity who has previously requested real property ad valorem tax notices with respect to the
                  subject property in accordance with F.S. § 197.344, as the same may be renumbered or
                  amended from time to time. The notice of violation and notice of hearing shall be sent by
                  certified or first class mail to all such parties' last known addresses as reflected in the records
                  of the Miami-Dade County Property Appraiser. Failure to receive such notice, or the lack of a
                  signed return receipt shall not invalidate the notice.
              (6) Upon expiration of the period of appeal provided in the notice of violation, the building
                  official, or designee, may file an appropriate instrument in the office of the clerk of the circuit
                  court to be recorded in the public records of this county, indicating that the property is in
                  violation of the building code and subject to a pending lien. The recording of the notice shall
                  constitute constructive notice of the violation to all concerned, subsequent purchasers,
                  transferees, mortgagees, lessees, grantees and all persons claiming or acquiring interest in
                  the property. In the event that the violation is corrected, the building official, or designee,
                  shall file proof of the same upon payment for fees incurred.
              (7) The building official, or designee, shall publish a notice for two consecutive weeks online via
                  the city's website at www.miamigov.com. The published notice shall contain the address of
                  the subject property and the names of the owner and any interested party, and state that the



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    subject property has been cited for violations of the building code and subject to demolition. The published
    notice shall also state the time and place of the hearing scheduled before the unsafe structures panel.
                 (8) The notices provided in this section are intended to serve as full and effective notice of the
                     hearing and the violations related to the structure. Failure of one form of notice shall not
                     invalidate or impair the full effectiveness of notice provided by other means pursuant to this
                     section.
                 (9) The city may seek collections of any money expended to rehouse occupants of a structure
                     under this subsection pursuant to subsection (f)(2).
              (h) Unsafe structures not meeting the valuation criteria for immediate demolition.
                 (1) If a building or structure may be repaired and made safe pursuant to the valuation criteria set
                     forth above, and the building or structure is otherwise unsafe in accordance with the physical
                     criteria set forth in this section, the building official, or designee, may order such building or
                     structure to be temporarily secured in the manner and subject to the limitations set forth in
                     this section. Such building must be completed and brought into full compliance with the
                     building code within such time as the building official, or designee, or the unsafe structures
                     panel may determine to be reasonable for such completion. If the building or structure is not
                     temporarily secured, or once served, not completed and brought into compliance with the
                     building code within the reasonable periods allowed, such building or structure shall be
                     demolished and removed from the premises.
                 (2) The building official, or designee, shall prepare a notice of violation. This written notice shall
                     state in summary form:
                      (i) The nature of defects which constitute a violation of this section and shall prescribe the
                         action to be taken to comply and the time within which compliance must be
                         accomplished;
                     (ii) In such time not to exceed ten days to secure an open structure to the reasonable
                         satisfaction of the building official, or designee, and 60 days to submit plans, 90 days to
                         obtain permits and 120 days to complete and finalize the permit obtained. Failure to
                         comply with any portion of the timeframe provided can result in the matter being set for
                         hearing before the Unsafe Structure Panel;
                     (iii) This notice shall also state that the specific details concerning the violations can be
                         obtained in writing from the building official on request. In addition, this notice will
                         explain the right of appeal of the decision of the building official, or designee, to the
                         unsafe structures panel, in its appellate capacity and also advise that unless there is
                         compliance with the directions of the building official, or designee, a case will be
                         commenced before the unsafe structures after time for compliance has expired, or that
                         the building official's order will be enforced.

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                 (3) The notice of violation shall be affixed to the structure concerned.
                 (4) Within ten working days of posting the notice of violation, the building official, or designee,
                     shall send the written notice of violation to the owner, in the same manner provided in above.
                 (5) In the event that the building or structure is not secured or brought into compliance with the
                     requirements of the building code within the periods specified in the notice of violation, the
                     building official, or designee, may schedule the case for hearing before the unsafe structures
                     panel to secure an order for demolition of the building or structure or to obtain any other
                     appropriate remedy.
                 (6) In the event that the building official, or designee, requests that the director of the building
                     department or his/her designee schedule a hearing, or in the event that the owner or
                     interested party files a timely appeal of the decision of the building official, the director of the
                     building department or his/her designee shall issue a notice of hearing which shall be affixed
                     to the property, mailed to the owner and interested party, in the same manner provided in
                     subsection (g) above. Notice of the hearing shall be published in the same manner provided
                     in subsection (g) above.
                 (7) If the property has not been secured or permits for repair obtained in the manner stipulated
                     in the notice, the building official, or designee, may file an appropriate instrument and notice
                     of pending lien in the public records in the manner provided in subsection (g) above. The city
                     may seek collections of any money expended to rehouse occupants of a structure under this
                     subsection pursuant to subsection (f)(2).
                 (8) Pre-hearing extension of time. Homestead exempt and/or owner-occupied residential
                     properties may be allowed to request from the building official, prior to hearing before the
                     unsafe structure panel, one extension of time from the original notice of violation compliance
                     requirements. Extensions shall only be provided for those properties who have shown good
                     cause, meaning submission of plans and active participation in the processing of the permits
                     to repair the deficiencies. Extensions shall not apply to structures that meet criteria for
                     immediate demolition. The extension may be no longer than 180 days in total. Governmental
                     owned properties shall also be allowed to request extensions pursuant to this subsection.
                     This subsection shall apply retroactively to all similarly situated properties.
              (i) Public hearing—Unsafe structure panel.
                 (1) On the day established in the notice of public hearing the unsafe structures panel shall review
                     all pertinent evidence and hear all testimony from the building official (or designee), the
                     owner and other parties in interest and their respective witnesses.
                 (2) The unsafe structures panel may order repair, securing, and/or demolition of the structure
                     upon application of the standards set forth in this article. The unsafe structures panel may
                     modify, rescind, or uphold the decision of the building official as recited in the notice of

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    violation. The unsafe structures panel shall modify or rescind a decision of the building official only upon a
    finding that the building official was in error in the interpretation or application of the building code. The
    unsafe structures panel shall not exceed the time frames allowed for repair and completion of buildings
    and structures specifically set forth in this article, except where the work involved reasonably requires such
    additional time.
                 (3) A copy of the order shall be forwarded to the owner, and all interested parties by U.S. mail,
                     and a copy thereof posted on the property.
                 (4) If the owner or interested party fails to comply with the order of the unsafe structures panel
                     within the time stipulated therein and such order is to repair, complete or secure the building
                     to make safe, then the building official, or designee, shall cause such building to be vacated, if
                     occupied; and shall through his/her employees or through a contractor enforce the order of
                     the unsafe structures panel or building official. Buildings shall be secured with concrete block
                     or other materials of the same durability as determined by the building official. Swimming
                     pools shall be secured by fencing or by using another approved method as determined by the
                     building official. For failure to comply with the order of the unsafe structure panel, which
                     includes requesting a timely extension of time under subsection 10-101(m), as applicable, the
                     city shall have the authority to move forward with demolition of the property structure, if so
                     ordered by the unsafe structure panel, as it has already been deemed unsafe and in need of
                     immediate repair. The city shall follow the process set forth through subsection (5) below.
                 (5) If the order of the unsafe structures panel is to demolish the building or structure and to
                     remove or salvage contents, debris and abandoned property from the premises, and the
                     owner or those responsible shall have failed to comply with such order, then the building
                     official, or designee, may do so. Swimming pools shall be demolished by removal of any
                     stagnant water and any above ground parts of the structure, breaking open the bottom and
                     filling with sand or clean fill level to the existing grade.
              (j) Multi-unit structures.
                 (1) This subsection shall be applicable to all multi-unit structures. As used in this subsection, the
                     term multi-unit structures means all townhouses and other structures which contain units
                     divided by one or more common walls, where the structural integrity of any component unit
                     depends upon the structural integrity of one or more other units in the same structure. In the
                     event that the owner or other interested party fails to comply with any order of the unsafe
                     structures panel in connection with any multi-unit structure, then in addition to any other
                     right or remedy contained in this section, the city shall be authorized, but not required, to
                     secure the structure in the manner set forth in this subsection. In addition, and not in
                     derogation of the use of other methods contemplated by this section for enforcing the
                     building code with respect to any structure, multi-unit structures may be secured by
                     performing whatever work the building official may determine is reasonably necessary to
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    preserve the structural integrity, water-tightness, or safety of adjacent units or the surrounding community
    which work may include, but no b limited to roofing, windows, and electrical.


                 (2) The procedure for enforcement of this Code set forth above shall be in addition to, and not in
                       derogation of, other procedures available to the building official pursuant to the building
                       code. The provisions of this subsection are not intended to exonerate any owner or other
                       interested party from compliance with the building code or any order of an unsafe structures
                       panel.
              (k) Recovery of cost.
                 (1) All costs incurred pursuant to any of the provisions of this section shall be paid by the owner,
                       interested party, or occupant of the premises on which the violation occurred.
                 (2) The building official, or designee shall file among their records an affidavit stating with
                     fairness and accuracy the items of expense and the date of execution of actions authorized
                       by this section.
                 (3) Any other employee, official or agency who incurs costs while executing any provision within
                       this article shall create an affidavit stating with fairness and accuracy the items of expense
                       and the date of execution of actions authorized by this section. That affidavit shall be given to
                       the building official, or designee, responsible for the unsafe structure at issue and filed
                       among his/her records for that property.
                 (4) The enforcing agency may institute a suit to recover such expenses against any liable person
                       or may cause such expenses to be charged against the property on which the violation
                       occurred as a lien or as a special assessment lien collectible according to established
                       procedures.
                 (5) Any lien imposed pursuant to this article shall be a lien greater in dignity to all liens, excepting
                     IRS tax liens.
                 (6) Liens created pursuant to this section may be discharged and satisfied by paying to the city
                       the amount specified in the notice of lien, together with interest thereon from the date of the
                       filing of the lien computed at the maximum statutory interest rate, together with the
                       administrative costs, filing and recording fees and fees paid to file a satisfaction of the lien in
                       the public records. When any such lien has been discharged, the city shall promptly cause
                       evidence of the satisfaction and discharge of such lien to be recorded in the public records.
                 (7) The remedies and procedures for recovery of costs provided in this article shall be in addition
                       to and not in derogation of other provided in the building code or otherwise provided by law.
              (l) Unsafe structure panels. Unsafe structures panels are hereby created to conduct hearings as
                 provided for under this section.
                 (1)
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    Composition. Unsafe structures panel(s) shall consist of three members from the list of panel members
    available from the county clerk pursuant to Miami-Dade County Administrative Order No. 2-5, as amended.
    A building department representative will serve as an ex-officio, non-voting member of each panel, to act
    as a liaison. The ex-officio member shall not count toward a quorum of the panel.
              (2) Designation. At the request of the director of the building department, the county clerk shall
                  designate three members to constitute one or more unsafe structures panel(s) to conduct
                  hearings on the dates scheduled by the director of the building department or his/her
                  designee. At least one of the members on each panel shall have knowledge of construction
                  gained from experience as an architect, engineer, general contractor or lawyer. The director
                  of the building department shall not have any input into which members are designated to
                  comprise a particular panel.
              (3) Organization of the unsafe structures panels.
                  a. The director of the building department may utilize one or more unsafe structures
                     panel(s) as needed to conduct hearings.
                  b. Quorum. Three unsafe structures panel members must be present to conduct a hearing
                     or take any action.
                  c. A majority vote of unsafe structures panel members present and voting shall be sufficient
                     to overrule, modify or affirm any action or decision of the building official or to take any
                     action within the scope of the powers and duties of the panel.
                  d. No member of an unsafe structures panel shall sit as a voting member in any hearing on a
                     matter in which he/she has a personal or financial interest.
                  e. The director of the city building department, or his/her designee, shall assist the unsafe
                     structures panel, but shall have no vote.
                   f. The director of the city building department or his/her designee may call and schedule
                     unsafe structures hearings.
                  g. Audio record shall be kept of all unsafe structures hearings and all hearings shall be
                     public.
                  h. All hearings shall be open to the public, and any person whose interest may be affected
                     by the matter on appeal shall be given an opportunity to be heard in person, or through
                     his/her attorney.
                   i. Witnesses may be sworn and subpoenaed by the unsafe structures panel in a like manner
                     as they are subpoenaed by the court or courts in Miami-Dade County.
                   j. The hearings shall be informal and need not be conducted according to technical rules
                     relating to evidence and witnesses. Any relevant evidence shall be admitted if it is the type
                     of evidence on which responsible persons are accustomed to rely in the conduct of

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    serious affairs regardless of the existence of any common law or statutory rules which might make
    improper the admission of such evidence over objection in civil actions.
                    k. Hearsay evidence may be used for the purpose of supplementing or explaining any direct
                       evidence but shall not be sufficient in itself to support a finding unless it would be
                       admissible over objection in civil actions.
                     l. The rules of privilege shall be effective to the same extent that they are now, or hereafter
                       may be, recognized in civil actions; and irrelevant and unduly repetitious evidence shall be
                       excluded.
                    m. The director of the city building department shall provide adequate and competent
                       clerical and administrative personnel and such technical or scientific personnel as may be
                       reasonably required by the unsafe structures panels for the proper performance of their
                       duties, subject to budget limitations. The director of the city building department shall
                       maintain a record of all proceedings, including but not limited to a court reporter's
                       transcript of the proceeding, and may clarify the same as a true copy and make a
                       reasonable charge therefore; provided, the court reporter shall certify the copy of his or
                       her transcript.
                    n. The director of the city building department shall provide a regular meeting place for the
                       panel.
              (4) Duties, powers and compensation of the unsafe structures panels. The unsafe structures
                    panels and shall have the following duties, functions, powers and responsibilities:
                    a. Hear and determine appeals from actions and decisions of the building official pursuant
                       to the provisions of this section.
                    b. Hear and review the application of the building official for the review of his or her action
                       where his or her decision as indicated in a notice of violations has not been complied
                       with.
                    c. Affirm, modify or reverse the decision of the building official upon appeal or on
                       application for review.
                    d. In the event of judicial review of an unsafe structure panel order, the director of the city
                       building department or his/her designee shall transmit the records with all exhibits,
                       instruments, papers and transcripts of its proceedings to the reviewing authority if so
                       requested.
                    e. The members of the unsafe structures panels shall be compensated as provided for
                       under Miami-Dade County Administrative Order No. 2-5, as amended. Moreover, the
                       members shall not be employees of the city.
              (5)


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    Duties of the city attorney. The city attorney shall either be counsel to the unsafe structures panel or shall
    represent the city by presenting cases to the unsafe structures panel, but in no case shall the city attorney
    serve in both capacities.
          (m) Post-hearing extension of time.
              (1) Requests for extensions of time from unsafe structure panel orders. Any owner or interested
                  party may seek an extension of the timeframes set forth in an order of the unsafe structures
                  panel. Such request for a hearing to seek such extension must be in writing, directed to the
                  unsafe structures panel clerk. The unsafe structures panel shall not be authorized to extend
                  any deadline for compliance, set forth in the order, unless the unsafe structures division of
                  the building department, unsafe structure panel clerk receives the written request for
                  extension prior to the deadline specified in the initial order. For example, in the event the
                  unsafe structures panel order states that a permit must be obtained within a specified period,
                  the request for extension of the deadline to obtain the permit must be received prior to the
                  expiration of that specified period. If the same order provides a deadline for completion of
                  the structure, the request for the extension for the deadline of completion must be received
                  prior to the deadline for completion, provided that the applicant has complied with the
                  permit deadline.
              (2) To obtain an extension, the owner or interested party must demonstrate to the reasonable
                  satisfaction of the unsafe structures panel that the structure that is the subject of the order is
                  secure at the time the extension is sought and that the owner or applicant has made a good
                  faith attempt to comply with the order which has been impeded by changed circumstances or
                  other circumstances outside of the owner or applicant's control. As a further condition of the
                  extension, the owner or interested party must submit in writing, together with the petition for
                  an extension, a written timetable for compliance with the substantive provisions of the order
                  and for completion of all necessary repairs. The unsafe structures panel shall not reconsider
                  the order, limiting its consideration of the petition to deciding whether the grounds for an
                  extension have been satisfied in the manner set forth in this subsection.
              (3) Upon adoption of the amendment to this section under [Ord. No. 14085], any homestead
                  exempt and/or owner-occupied residential property currently in default of an order of the
                  unsafe structure panel and who can show they have made a good faith attempt to comply
                  with the order which has been impeded by changed circumstances or other circumstances
                  outside of the owner's control, has been an active participant in the process of legalizing or
                  repairing the determined deficiencies and provides, in writing, what has been done since the
                  date of the unsafe structure panel order and a timetable for compliance of all required
                  repairs shall have 60 days to request a post-hearing extension of time before the unsafe
                  structure panel. Failure to request the post-hearing extension shall leave the original order in
                  full force and effect.
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              (n) Judicial review.
                  (1) Any owner or interested party aggrieved by a decision of the unsafe structures panel may
                      seek judicial review of that decision in accordance with Rule 9.110(c) of the Florida Rules of
                      Appellate Procedure. Accordingly, any order, requirement, decision, denial of a request for
                      extension of time, or determination of the unsafe structures panel shall be reviewed by the
                      filing of a notice of appeal in the circuit court appellate division of the Eleventh Judicial Circuit
                      in and for Miami-Dade County, Florida, within 30 days of rendition of the order.
                  (2) The use of one method of enforcement shall not preclude the use of another method of
                      enforcement including, but not limited to, legal actions filed with the Eleventh Judicial Circuit
                      Court whether the actions are done in a consecutive or concurrent manner.
              (o) Definitions.
       Building or structures shall be synonymous.

       Building code shall be the Florida Building Code, as amended from time to time.

       Interested parties shall be defined as stated in chapter 10 of this Code.

       All other definitions shall be defined as stated in chapter 10 of this Code or chapter 8 of the Miami-Dade
   County Code.

   (Ord. No. 13295, § 2, 12-15-11; Ord. No. 13422, § 2, 12-12-13; Ord. No. 13580, § 2, 12-10-15; Ord. No. 13676,
   § 2, 4-27-17; Ord. No. 14085, § 2, 9-13-22)




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                                      Miami Police Department
                                      Field Operations Division

                                               Art Acevedo
                                              Chief of Police

                         Business Compliance/Operation Dry Hour

                                                   SITUATION

     On Friday, August 20, 2021, the City of Miami Police Department in conjunction with the City of Miami
     Code Compliance, Building Department, Fire Department, and the Florida Division of Alcoholic
     Beverages and Tobacco (ABT) will be conducting business inspections to ensure each establishment is in
     legal compliance with all laws, codes, and ordinances. Periodically, we team up with the different
     departments in the city as well as our partners in state law enforcement to conduct these inspections, to
     ensure that each one of the businesses are operating legally and, within the guidelines of city ordinances.
     We select our locations based on ongoing issues that may be occurring, as well as complaints received.
     The mission of the City of Miami Police Department is to ensure a safe environment for all persons that
     work at or visit these establishments.

                                         DELIBERATE ACTION PLAN

     The City of Miami Police Officers assigned to this operation, will first enter the business establishment.
     Once the location is deemed safe and illuminated, the City of Miami Fire Department Inspectors, Code
     Compliance Officers, City of Miami Building Department Inspectors, and the Florida Division of
     Alcoholic Beverages and Tobacco personnel will enter the establishment to begin their inspection. Once
     the inspection is completed, if necessary, the owner I manager/ designee on scene will be instructed and
     educated, on what needs to be done to his / her establishment so that they are in compliance with, all
     Florida State Statutes, and Miami-Dade County and City of Miami Ordinances.

                                            EVENT INFORMATION

     Date: August 20, 2021 Friday

     Time: 2200-0400 Hours

     Operation Commanding Officer: Sergeant Ryan Rodriguez

     Command Post: Central District Sub Station 400 NW 2 Avenue

     Roll Call Location: 444 SW 2 Avenue MRC parking lot

     Communications Channel: Working Channel and or Dispatch 11 as needed

     Equipment: Class "B" Uniform
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                                            PERSONNEL ASSIGNMENTS
         •    Lieutenant - 0
         •    Sergeant -1
         •    City of Miami Police Officers- 3
         •    City of Miami Fire Department - 0
         •    City of Miami Code Enforcement Officers - 1
         •    City of Miami Building Department -0
         •    Florida Division of Alcoholic Beverage and Tobacco (ABT) 0

         Commanding Officer          Unit     IBM      Location      Duty Hours          Detail Assignment
       Sergeant Ryan Rodriguez       7420    41137    FOO Patrol      2200-0400               Sergeant

      Patrol Officer                 Unit     IBM      Location      Duty Hours          Detail Assignment
      Manuel Mora                    7422 44331           SDSS       2200-0400                Officer
      Tania Bauza                    7621 42717           COSS       2200-0400                Officer
      David Valuja                   7325 45401           COSS       2200-0400                Officer

             Fire Department         IBM        Duty Hours               Assignment              Contact#
                   NIA              NIA          2200-0400          Fire Lieutenant                  UNK
                   NIA              NIA          2200-0400          Fire Fighter                     UNK

             Code Compliance         IBM        Duty Hours               Assignment                 Contact#
      Gamarra, Daniel               NIA          2200-0400          Code Comp!. Inspector             UNK

        Building Department         IBM         Duty Hours               Assignment                 Contact#
                  NIA               NIA          2200-0400          Building Inspector         305-413-0733

      Alcoholic Beverages & Tobacco          Duty Hours            Assignment            Contact#
                       NIA                    2200-0400            ABT Duties                   NIA


                                                 ACTION PLAN

     The City of Miami Police Officers will be the first units inside the establishment, to ensure that they are
     safe for Code Compliance, Building Department, Fire Department and, ABT personnel to enter and
     conduct inspections. Once the inspection is done, if any arrests are to be made, the detail units will make
     said arrests and transport the prisoners accordingly. Code Compliance, Building Department, Fire
     Department, and ABT will have their own reports and citations to issue. The entire detail will then conduct
     an on scene debriefing to exchange information prior to departing each inspected location.
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      Event Locations:

      1.    Los Altos                   521 S.W. 8 Street                     Little Havana
      2.    Joia Beach                  1111 Parrot Jungle Trail              Downtown
      3.    Wharf Miami                 114 S.W. North River Drive            Downtown
      4.    Riverside Miami             25 S.E. 5 Street                      Downtown


      Occupancy Checks by the Fire Department:

      1. None




     Prepared by:         Sergeant R. Rodriguez               I.B.M. #41137   Date: 08120121

     NET Commander:       NI A                                I.B.M. NIA      Date: NIA

     District Major:      NIA                                 I.B.M. NIA      Date: NIA

     Assistant Chief:     Manuel A. Morales                   I.B.M. # 4886   Date: 08120121
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